Case 1:17-cr-00101-LEK Document 927 Filed 02/24/20 Page 1 of 4              PageID #: 7816

                                MINUTE ORDER



 CASE NUMBER:             CRIMINAL NO. 17-00101 LEK
 CASE NAME:               USA vs. Anthony T. Williams


       JUDGE:      Leslie E. Kobayashi           DATE:             2/24/2020

COURT ACTION: EO: COURT ORDER REGARDING CROSS-EXAMINATION OF
DEFENDANT AND THE GOVERNMENT’S REBUTTAL CASE

     On February 24, 2020, pro se Defendant Anthony T. Williams (“Defendant”)
commenced his testimony in the defense case.

I.     Grand Theft Conviction

       Plaintiff United States of America (“the Government”) will be permitted to cross-
examine Defendant regarding his prior conviction in the State of Florida for grand theft,
in violation of Fla. Stat. § 812.014, and unlawful filing of false documents or records
against property, in violation of Fla. Stat. § 817.535, in State of Florida v. Anthony Troy
Williams, Case No. 17-74 CF 10, in the Seventeenth Judicial Circuit in and for Broward
County, Florida (collectively “the Grand Theft Conviction”). See United States of
America’s Notice of Intent to Admit Crimes or Other Acts Evidence Pursuant to Federal
Rule of Evidence 404(b) (“Rule 404(b) Notice”), filed 4/18/18 (dkt. no. 223), Exh. A
(Judgment for the Grand Theft Conviction), Exh. B (Sentence for the same case); see also
Gov’t Tr. Exh. 822. This Court has previously ruled that Defendant opened the door to
testimony regarding the Grand Theft Conviction during Defendant’s cross-examination of
Federal Bureau of Investigation Agent Joseph Lavelle by eliciting testimony that no
charges against Defendant were filed in any federal court in Florida that are similar to the
charges in the instant case.

                     In a criminal prosecution, the government may introduce
              otherwise inadmissible evidence when the defendant “opens the
              door” by introducing potentially misleading testimony. A defendant
              may open the door by minimizing, or attempting to explain away, a
              prior conviction. See, e.g., United States v. Baylor, 97 F.3d 542, 545
              (D.C. Cir. 1996) (noting that “a witness may ‘open the door’ to more
              extensive cross-examination by attempting to minimize the conduct
              for which he was convicted”). If a defendant opens the door, the
              prosecution may introduce evidence on the same issue to rebut any
              false impression that might have resulted from the earlier admission.
Case 1:17-cr-00101-LEK Document 927 Filed 02/24/20 Page 2 of 4             PageID #: 7817

United States v. Osazuwa, 564 F.3d 1169, 1175–76 (9th Cir. 2009) (some citations and
internal quotation marks omitted). Although the charges in the Grand Theft Conviction
were different from the offenses that have been charged in the instant case, the evidence
in the instant case has shown that the charges Defendant was convicted of in the Grand
Theft Conviction arise from a scheme that is sufficiently similar to the scheme to defraud
that is at issue in the instant case to render the Grand Theft Conviction relevant to the
instant case.

      Further, the Government will be permitted to cross-examine Defendant regarding
Grand Theft Conviction because it “may be admissible for another purpose, such as
proving motive, opportunity, intent, preparation, plan, knowledge, identity, absence of
mistake, or lack of accident.” See Fed. R. Evid. 404(b)(2). As previously noted, the
Government filed a timely notice of its intent to utilize evidence of the Grand Theft
Conviction pursuant to Rule 404(b)(2).

II.    Unauthorized Practice of Law Conviction

        In light of the testimony given during Defendant’s direct examination by stand-by
counsel, the Government will be permitted to cross-examine Defendant regarding his
prior conviction in the State of Florida for the unauthorized practice of law, in violation
of Fla. Stat. § 454.23, and making false official statements, in violation of Fla. Stat.
§ 837.06, in State of Florida v. Anthony Williams, Case No. 15-14566 CF 10A, in the
Seventeenth Judicial Circuit in and for Broward County, Florida (collectively “the
Unauthorized Practice of Law Conviction”). See Rule 404(b) Notice, Exh. D (Judgment
for the Unauthorized Practice of Law Conviction); see also Gov’t Tr. Exh. 821. The
Government’s use of such evidence is limited to impeachment purposes only. See Fed. R.
Evid. 609(a)(2) (stating evidence of prior criminal conviction “for any crime regardless of
the punishment . . . must be admitted if the court can readily determine that establishing
the elements of the crime required proving – or the witness’s admitting – a dishonest act
or false statement”); see also Fed. R. Evid. 105 (“If the court admits evidence that is
admissible against a party or for a purpose – but not against another party or for another
purpose – the court, on timely request, must restrict the evidence to its proper scope and
instruct the jury accordingly.”).

III.   Other Issues Related to Florida Convictions

        As to the Grand Theft Conviction and the Unauthorized Practice of Law
Conviction, Defendant argues that it is fundamentally unfair to admit such evidence
because this Court has previously ruled that Defendant is not permitted to call witnesses
to testify regarding services that Defendant and his entities, including Mortgage
Enterprise Investments (“MEI”) and Common Law Office of America (“CLOA”),
rendered to clients in other states, including Florida. Defendant proposed to present such
testimony to establish that his mortgage reduction system was effective in other states;
Defendant did not propose such testimony to establish that either the Grand Theft
Conviction or the Unauthorized Practice of Law Conviction was erroneous or illegally
obtained. If any portion of either the Grand Theft Conviction or the Unauthorized
Case 1:17-cr-00101-LEK Document 927 Filed 02/24/20 Page 3 of 4               PageID #: 7818

Practice of Law Conviction was overturned or invalidated, Defendant has the opportunity
to present court documents or records to that effect. Moreover, Defendant has presented
his own testimony regarding the asserted effectiveness of his mortgage reduction system
in other states. This Court therefore rejects Defendant’s argument that admission of
evidence regarding the Grand Theft Conviction and the Unauthorized Practice of Law
Conviction is unfair in light of the exclusion of witnesses regarding Defendant’s clients
outside of Hawai`i. This Court reaffirms its prior rulings excluding the testimony of
witnesses regarding Defendant’s clients outside of Hawai`i.

        To the extent it is necessary, and provided that the proper evidentiary foundation is
laid, the Government may also introduce evidence regarding the Grand Theft Conviction
and the Unauthorized Practice of Law Conviction in its rebuttal case.

IV.    Hawai`i Injunction

       Provided that the proper evidentiary foundation is laid, the Government will also
be permitted to introduce evidence during its rebuttal case regarding the permanent
injunction in State of Hawai`i v. Anthony Williams, et al., Civil No. 13-1-2484, filed in
the State of Hawai`i First Circuit Court, enjoining Defendant from, inter alia, offering
legal services. See Gov’t Tr. Exh. 862. The conduct described in the injunction
document is inextricably intertwined with the conduct that forms the basis of the charges
against Defendant in the instant case. See United States v. Loftis, 843 F.3d 1173, 1178
(9th Cir. 2016) (“In the context of mail and wire fraud, we have held that uncharged
transactions that are part of an overall scheme are part of the same transaction as the
charged transactions, such that evidence of the uncharged transactions falls under the first
inextricably intertwined exception.” (internal quotation marks omitted)). While evidence
regarding the permanent injunction will have some prejudicial effect on Defendant, it is
substantially outweighed by the probative value of the evidence. See Fed. R. Evid. 403.

V.     Tax Evidence

        Finally, the Government will be permitted to cross-examine Defendant and
introduce evidence, provided that the proper evidentiary foundation is laid, regarding
Defendant’s failure to pay income taxes on what Defendant has asserted are legitimate
payments for services provided by Defendant, MEI, or CLOA. Such evidence is relevant
to relevant to Defendant’s treatment of funds collected from the persons the Government
has characterized as Defendant’s victims in this case. See United States v. Kuiken, 198 F.
App’x 643, 647 (9th Cir. 2006) (citing United States v. Fuchs, 218 F.3d 957, 965 (9th Cir.
2000), and United States v. Ordonez, 737 F.2d 793, 811 (9th Cir. 1983), “which upheld
the introduction of evidence concerning tax returns in criminal cases as relevant to the
accuseds’ characterization of the funds allegedly received as part of the underlying
criminal schemes”). Although Defendant is not charged with tax fraud or tax evasion in
the instant case, the purported failure to pay the appropriate taxes is inextricably
intertwined with the conduct that forms the basis of the charges against him. See Loftis,
843 F.3d at 1178. Further, any prejudicial effect of such evidence on Defendant is
substantially outweighed by the probative value of the evidence. See Rule 403.
Case 1:17-cr-00101-LEK Document 927 Filed 02/24/20 Page 4 of 4   PageID #: 7819

      IT IS SO ORDERED.



Submitted by: Agalelei Elkington, Courtroom Manager
